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AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                         SouthernDistrict
                                                     __________   Districtofof__________
                                                                               Iowa

                  United States of America                            )
                             v.                                       )     Case No. 4:21-cr-00025-RAK-CFB-1
                   Michael Arthur Klinefeldt
                                                                      )
                                                                      )
                             Defendant                                )

                                         ORDER SCHEDULING A DETENTION HEARING
                                                       and/or Preliminary Hearing

         A detention hearing in this case is scheduled as follows:

Place: United States Courthouse Des Moines                                 Courtroom No.: 455 VTC with Polk County Jail

                                                                           Date and Time: 3/4/2021 1:30 pm


        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:     February 23, 2021
                                                                                              Judge’s signature



                                                                              Celeste F. Bremer, U.S. Magistrate Judge
                                                                                            Printed name and title
